Case 22-05019   Doc 21   Filed 08/10/22   Entered 08/10/22 16:34:12   Page 1 of 7
Case 22-05019   Doc 21   Filed 08/10/22   Entered 08/10/22 16:34:12   Page 2 of 7
Case 22-05019   Doc 21   Filed 08/10/22   Entered 08/10/22 16:34:12   Page 3 of 7
Case 22-05019   Doc 21   Filed 08/10/22   Entered 08/10/22 16:34:12   Page 4 of 7
Case 22-05019   Doc 21   Filed 08/10/22   Entered 08/10/22 16:34:12   Page 5 of 7
Case 22-05019   Doc 21   Filed 08/10/22   Entered 08/10/22 16:34:12   Page 6 of 7
Case 22-05019   Doc 21   Filed 08/10/22   Entered 08/10/22 16:34:12   Page 7 of 7
